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                        Attachment A
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      NIKON CORPORATION, and NIKON INC.
 13
 14                              UNITED STATES DISTRICT COURT
 15                             CENTRAL DISTRICT OF CALIFORNIA
 16                                         WESTERN DIVISION
 17
 18   CARL ZEISS AG and ASML                          Case No.: 2:17-cv-03221 RGK (MRWx)
      NETHERLANDS, B.V.,
 19                                                   DEFENDANTS NIKON
                              Plaintiffs,             CORPORATION, SENDAI NIKON
 20                                                   CORPORATION, AND NIKON
              v.                                      INC.’S RESPONSES TO
 21                                                   PLAINTIFFS CARL ZEISS AG AND
      NIKON CORPORATION, SENDAI                       ASML NETHERLANDS B.V.’S
 22   NIKON CORPORATION, and                          FIRST SET OF
      NIKON INC.,                                     INTERROGATORIES
 23
                              Defendants.             Hon. R. Gary Klausner
 24
 25
 26
 27
 28
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  1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Rule
  2   33 of the C.D. Cal. Local Civil Rules, Defendants Nikon Corporation, Sendai
  3   Nikon Corporation, and Nikon Inc. (“Defendants”) hereby submit the following
  4   responses and objections to Plaintiff Carl Zeiss AG and ASML Netherlands B.V.’s
  5   First Set of Interrogatories, dated September 25, 2017. Defendants’ responses are
  6   based on their current knowledge. Defendants provide these responses pursuant to
  7   the Federal Rules of Civil Procedure, and to the extent Plaintiffs’ definitions or
  8   instructions purport to enlarge the scope of Defendants’ obligations, Defendants
  9   object on that basis.
 10                                    GENERAL OBJECTIONS
 11          1.      Defendants object to the Interrogatories to the extent that Zeiss/ASML
 12   purports to enlarge Defendants’ obligations beyond those imposed by the Federal
 13   Rules of Civil Procedure, Civil Local Rules, or any other statute.
 14          2.      Defendants respond to the Interrogatories as it interprets and
 15   understands each instruction, definition, and Interrogatory. If Zeiss/ASML
 16   subsequently asserts an interpretation of any instruction, definition, or Interrogatory
 17   or sub-part thereof that differs from Defendants’ understanding of that instruction,
 18   definition, or Interrogatory or sub-part thereof, Defendants reserve the right to
 19   supplement their objections and/or responses.
 20          3.      Defendants do not waive the right to object to the admissibility into
 21   evidence of any documents or information provided in response to the
 22   Interrogatories. Defendants further do not waive the right to raise all questions of
 23   authenticity, relevancy, materiality, and privilege for any purpose with regard to the
 24   information provided in response to the Interrogatories, which may arise in any
 25   subsequent proceeding and/or the trial of this or any other action. Moreover, the
 26   assertion by Defendants of various general and specific objections is not a waiver of
 27   other objections that might be applicable or become so at some future time.
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  1          4.      Defendants object to the Interrogatories to the extent that they purport
  2   to define words or phrases to have a meaning different from their commonly
  3   understood meaning or to include more than their commonly understood
  4   definitions.
  5          5.      Defendants object to the Interrogatories to the extent that they would
  6   require Defendants to draw a legal conclusion to make a proper response.
  7          6.      Defendants object to the Interrogatories to the extent that they seek
  8   information created in anticipation of litigation, constituting work product,
  9   protected by the attorney-client privilege, or otherwise protected from disclosure
 10   under applicable privileges, laws, or rules. Defendants further object to this request
 11   to the extent it seeks information protected joint defense or common interest
 12   privilege, community of interest privilege, and/or any other applicable privilege or
 13   immunity. Defendants’ responses to the Interrogatories should be understood to
 14   exclude such privileged and protected information. Any inadvertent disclosure of
 15   such information shall not be deemed a waiver of the attorney-client privilege, work
 16   product doctrine, common interest doctrine, joint defense privilege, or any other
 17   applicable privilege, doctrine, or immunity recognized by statute, rule, or case law.
 18          7.      Defendants object to the Interrogatories to the extent that they seek
 19   confidential or proprietary information pertaining to Defendants’ business, trade
 20   secrets, and/or economic relationships, or to the extent that they seek confidential or
 21   proprietary information that would impinge on the constitutionally protected right
 22   to privacy of individuals.
 23          8.      Defendants object to the Interrogatories to the extent that they seek
 24   confidential, proprietary, or trade secret information of third parties. Defendants
 25   will endeavor to work with third parties in order to obtain their consent, if
 26   necessary, before identifying or disclosing such information.
 27          9.      Defendants object to the Interrogatories to the extent that they seek
 28   information that Defendants are under an obligation to a third party or court order
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  1   not to disclose. Defendants will disclose such responsive, relevant, non-privileged
  2   information in accordance with any future Protective Order in this litigation, and
  3   after complying with Defendants’ obligations to the third party and/or court.
  4          10.     Defendants object to the Interrogatories to the extent that they purport
  5   to require Defendants to take any action that is inconsistent with or contrary to any
  6   applicable foreign privacy laws including, without limitation, any applicable
  7   Japanese or United States data privacy laws.
  8          11.     Defendants object to the Interrogatories to the extent that they are
  9   overly broad, unduly burdensome, not reasonably calculated to lead to the
 10   discovery of admissible evidence, and/or not proportional to the needs of the case.
 11          12.     Defendants object to each Interrogatory to the extent that it is
 12   cumulative of another Interrogatory.
 13          13.     Defendants object to the Interrogatories to the extent that they require
 14   Defendants to provide information of a kind or in a format that would be unduly
 15   burdensome to provide.
 16          14.     Defendants object to the Interrogatories to the extent that they seek
 17   information that is not in the possession, custody, or control of Defendants, to the
 18   extent that the Interrogatories purport to require Defendants to speculate about the
 19   identity of persons who might have responsive information, and to the extent that
 20   they purport to call for any accounting of documents or things that Defendants no
 21   longer possess and/or were under no obligation to maintain.
 22          15.     Defendants object to the Interrogatories to the extent that they seek
 23   information that is publicly available.
 24          16.     Defendants object to the Interrogatories to the extent that they are not
 25   specifically limited to any time period relevant to any claim or defense in this
 26   lawsuit, and thereby seek production of documents that are not relevant to any
 27   claim or defense in this lawsuit, not reasonably likely to lead to the discovery of
 28   admissible evidence, and not proportional to the needs of the case.
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  1          17.     Any information provided herein is not, and shall not be deemed, an
  2   admission of any factual or legal contention contained in the Interrogatories.
  3   Defendants object to the Interrogatories to the extent that they contain any factual
  4   or legal misrepresentations.
  5          18.     Defendants object to Zeiss/ASML’s definition of “Asserted Claims” to
  6   the extent that this term refers to anything other than the claims of the patents
  7   asserted in Zeiss/ASML’s Complaint, and to the extent that the definition of this
  8   term draws any improper legal conclusion regarding alleged infringement.
  9          19.     Defendants object to Zeiss/ASML’s definition of the term
 10   “Component” as overly broad, unduly burdensome, vague and not relevant to any
 11   claim or defense in this lawsuit in that Requests incorporating this term could
 12   potentially refer to every component in a Nikon digital camera.
 13          20.     Defendants object to Zeiss/ASML’s definition of the terms “Nikon
 14   Employee Witness” and “Nikon Employee Witnesses” as overly broad, unduly
 15   burdensome, vague, and not relevant to any claim or defense in this lawsuit to the
 16   extent that Interrogatories incorporating these terms seek identification of witnesses
 17   that will not be identified and/or called as a witness in this lawsuit.
 18          21.     Defendants object to Zeiss/ASML’s definition of “Person(s)” on the
 19   ground and to the extent that it is overbroad, unduly burdensome, vague, seeks
 20   information that is not relevant to any claim or defense in this lawsuit, not
 21   reasonably calculated to lead to the discovery of admissible evidence, and not
 22   proportional to the needs of the case. Defendants further object to Zeiss/ASML’s
 23   definition of “Person(s)” on the ground and to the extent that Interrogatories
 24   incorporating this definition purport to impose obligations beyond those imposed
 25   by the Federal Rules of Civil Procedure or any Civil Local Rules.
 26          22.     Defendants object to the extent that any Interrogatory calls for sharing
 27   of trade secrets or other confidential business information. Discovery has just
 28   commenced, and the Court has not yet entered a protective order. Defendants will
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  1   supplement its responses as appropriate after the Court has entered an appropriate
  2   protective order.
  3          23.     These General Objections are hereby incorporated into each and every
  4   specific response to the Interrogatories set forth below as if fully set forth therein.
  5
  6   Subject to the foregoing General Objections, Defendants specifically object and
  7   respond as follows:
  8                           RESPONSES TO INTERROGATORIES
  9   INTERROGATORY NO. 1:
 10          Describe all facts relating to Nikon’s knowledge of the Asserted Patents and
 11   Related Patents, including when and how Nikon first became aware of each
 12   Asserted Patent or Related Patent, what actions, if any, You took in response, and
 13   identify all Communications relating to, and Persons involved in, that first
 14   awareness or the actions taken in response.
 15   RESPONSE TO INTERROGATORY NO. 1:
 16          Defendants incorporate their General Objections by reference. Defendants
 17   further object to Zeiss/ASML’s definitions of “Communications” as overly broad in
 18   light of the parties’ agreement that “they are not obligated to search for, collect,
 19   produce, or log on a privilege log emails in response to any interrogatories or
 20   document requests served by any of the parties.” (D.I. 50 at 8.) Defendants object
 21   to this Interrogatory as overly broad, unduly burdensome, not reasonably calculated
 22   to lead to the discovery of admissible evidence, and not proportional to the needs of
 23   the case for the same reason. Defendants object to this Interrogatory to the extent it
 24   seeks disclosure of information protected by the attorney-client privilege, the
 25   attorney work product doctrine, joint defense or common interest privilege,
 26   community of interest privilege, and/or any other applicable privilege or immunity.
 27   .
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  1          Defendants’ response to this interrogatory is based on information currently
  2   known to Defendants through their reasonable investigation to date, and is subject
  3   to amendment and/or supplementation. By providing this response, Defendants do
  4   not, and do not intend to, waive their right to rely on evidence or information that is
  5   subsequently discovered through continuing investigation and/or included in an
  6   amended or supplemental response.
  7          Subject to, as limited by, and without waiving the foregoing objections and
  8   the General Objections, Defendants respond as follows:
  9          Nikon Inc. and Sendai Nikon first became aware of the Asserted Patents
 10   when they received a copy of Plaintiffs’ Initial Complaint in this action, (D.I. 1.)
 11          Nikon Corporation first became aware of the contents of the ’792 Patent in or
 12   around December 2012 as part of a freedom to operate search. Nikon Corporation
 13   first became aware of the contents of the ’167 Patent in or around November 2009
 14   as part of a freedom to operate search. Nikon Corporation first became aware of
 15   the existence of the ’312 Patent in or around March 2013 as part of an analysis of
 16   counting how many patents Nikon’s competitors owned. At the time, Nikon
 17   Corporation was not aware of the contents of the ’312 Patent. Nikon Corporation
 18   first became aware of the contents of the ’312 and ’017 Patents when it received a
 19   copy of Plaintiffs’ Initial Complaint in this action. Nikon Corporation’s Intellectual
 20   Property Department was involved in analyzing the Asserted Patents.
 21   INTERROGATORY NO. 2:
 22          Describe in detail the complete legal and factual bases for any contention by
 23   You that any of the Asserted Claims of the Asserted Patents are not directly or
 24   indirectly Infringed by any Accused Product, either literally or under the doctrine of
 25   equivalents, including claim charts that identify all Documents and Things related
 26   to Your contention on an element-by-element basis for each of the Asserted Claims,
 27   the identity of all supporting Documents, the identity of the three Persons most
 28   knowledgeable about the subject matter of Your response for each of the Asserted
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  1   Patents, and the identity of Persons who You expect will offer testimony about
  2   these contentions at any deposition or hearing or at trial in this litigation.
  3   RESPONSE TO INTERROGATORY NO. 2:
  4          Defendants incorporate their General Objections by reference. Defendants
  5   further object to this Interrogatory as vague and ambiguous with respect to the
  6   terms “Accused Product,” “Asserted Claims,” and “Asserted Patents.” Defendants
  7   further object to this Interrogatory to the extent it seeks information protected by
  8   the attorney-client privilege, the attorney work product doctrine, joint defense or
  9   common interest privilege, community of interest privilege, and/or any other
 10   applicable privilege or immunity. . Defendants further object to this Interrogatory
 11   as a premature request for disclosures of Defendants’ non-infringement contentions
 12   before Zeiss/ASML has served infringement contentions. Plaintiffs bear the burden
 13   of proving infringement, and Plaintiffs have not yet presented a prima facie case of
 14   infringement. Defendants further object to this Interrogatory as premature to the
 15   extent it calls for information that is the subject of expert reports and testimony.
 16   Defendants further object to this Interrogatory as overly broad, unduly burdensome,
 17   not reasonably calculated to lead to the discovery of admissible evidence, and not
 18   proportional to the needs of the case to the extent it seeks an identification of “all
 19   supporting Documents” that Defendants may rely on to support their contentions.
 20   Defendants further object to this Interrogatory as a premature Interrogatory
 21   requesting identification of persons who may offer testimony at any hearing in this
 22   litigation.
 23          Defendants’ response to this Interrogatory is based on information currently
 24   known to Defendants through reasonable investigation to date, and is subject to
 25   amendment and/or supplementation. By providing this response, Defendants do
 26   not, and do not intend to, waive their right to rely on evidence or information that is
 27   subsequently discovered through continuing investigation and/or included in an
 28   amended or supplemental response.
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   1            Subject to, as limited by, and without waiving the foregoing objections and
   2   the General Objections, Defendants respond as follows:
   3            Discovery has just commenced and thus, Defendants will provide responsive,
   4   relevant, non-privileged information on a mutually agreeable date after Plaintiffs
   5   provide infringement contentions or on a date set by the Court. Defendants reserve
   6   the right to supplement this response once an appropriate protective order is in
   7   place.
   8            By responding to this Interrogatory, Defendants do not admit that Plaintiffs’
   9   infringement allegations that Defendants have not specifically addressed below are
  10   true or correct.
  11            ’792 Patent
  12            As of the date of this response, Plaintiffs have only provided a chart accusing
  13   Defendants of infringing Claim 1 of the ’792 Patent. (D.I. 33-11.) Plaintiffs’ claim
  14   chart does not present a prima facie case of infringement by any Accused Product at
  15   least because it relies on a manual from the Nikon COOLPIX P900 camera in
  16   support of Plaintiffs’ allegations that some claim elements are present, but the chart
  17   relies on screen shots purportedly taken from a Nikon COOLPIX P600 camera in
  18   support of Plaintiffs’ allegations that other claim elements are present. Moreover,
  19   Claim 1 is indefinite under 35 U.S.C. § 112 ¶ 2 at least because “incorrectly” is
  20   vague and indefinite in meaning. An indefinite claim is invalid and cannot be
  21   infringed.
  22            ’167 Patent
  23            As of the date of this response, Plaintiffs have only provided a chart accusing
  24   Defendants of infringing Claim 1 of the ’167 Patent. (D.I. 33-14.) Plaintiffs’ claim
  25   chart N-1 does not present a prima facie case of infringement by the Nikon 1 V-3 at
  26   least because, on information and belief, it appears to rely on excerpts from that
  27   camera’s manual that refer to two different modes of operation (“Auto” mode and
  28   “Motion Snapshot” mode) to allegedly satisfy the limitation “detecting
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   1   manipulation of the camera prior to image-capture.” The remainder of Plaintiffs’
   2   allegations appear to assume that the camera is operating in Motion Snapshot mode.
   3          Plaintiffs’ claim chart N-2 does not present a prima facie case of
   4   infringement by the Nikon D810 at least because, on information and belief, it
   5   appears to rely on excerpts from that camera’s manual that refer to two different
   6   modes of operation (basic shooting mode and “Movie Live View” mode) to
   7   allegedly satisfy the limitation “detecting manipulation of the camera prior to
   8   image-capture.” The remainder of Plaintiffs’ allegations appear to assume that the
   9   camera is operating in Movie Live View mode.
  10          Neither accused model infringes claim 1 at least because in both models,
  11   capture of video is not responsive to “activation of a viewfinder display.” Under
  12   Plaintiffs’ infringement theory, at least with respect to the D810, “sensory data” is
  13   not stored “in association with the still image data” because still images and movie
  14   clips are stored in separate files.
  15          ’312 Patent
  16          As of the date of this response, Plaintiffs have only provided a chart accusing
  17   Defendants of infringing Claim 1 of the ’312 Patent. (D.I. 33-18.) The limitation
  18   “a sensing node of a unit pixel in a previous scan line is selectively shared with a
  19   sensing node of a unit pixel in a current scan line in response to a line select signal
  20   of the current scan line” is indefinite because it is unclear if this is a method step.
  21   An indefinite claim is invalid and cannot be infringed.
  22          To the extent that Defendants understand Plaintiffs’ allegations, Plaintiffs’
  23   claim chart R does not present a prima facie case of infringement by the accused
  24   products.
  25          ’017 Patent
  26          As of the date of this response, Plaintiffs have only provided a chart accusing
  27   Defendants of infringing Claim 1 of the ’017 Patent. (D.I. 33-21.) To the extent
  28
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   1   that Defendants understand Plaintiffs’ allegations, Plaintiffs’ claim chart T does not
   2   present a prima facie case of infringement by the accused products.
   3   INTERROGATORY NO. 3:
   4          For each Asserted Claim of the Asserted Patents, describe in complete detail
   5   any effort taken by You at any time (including before or during pendency of this
   6   action) to avoid Infringement of the claim, including the development, Evaluation,
   7   experimentation, or other analysis of any alleged non-infringing alternatives or
   8   prototypes, the identity all supporting Documents, the identity of the three Persons
   9   most knowledgeable about the subject matter of Your response for each of the
  10   Asserted Patents, and the identity of Persons who You expect will offer testimony
  11   about these contentions at any deposition, hearing, or at trial in this litigation.
  12   RESPONSE TO INTERROGATORY NO. 3:
  13           Defendants incorporate their General Objections by reference. Defendants
  14   further object to this Interrogatory as vague and ambiguous with respect to the
  15   terms “any Accused Product.” Defendants further object to this Interrogatory to
  16   the extent it seeks information protected by the attorney-client privilege, the
  17   attorney work product doctrine, joint defense or common interest privilege,
  18   community of interest privilege, and/or any other applicable privilege or immunity.
  19   Defendants’ response to Interrogatory No. 3 is based on information currently
  20   known to Defendants through their reasonable investigation to date, and is subject
  21   to amendment and/or supplementation. By providing this response, Defendants do
  22   not, and do not intend to, waive their right to rely on evidence or information that is
  23   subsequently discovered through their continuing investigation and/or included in
  24   an amended or supplemental response.
  25          Subject to, as limited by, and without waiving the foregoing objections and
  26   the General Objections, Defendants respond as follows: Defendants are not aware
  27   of any non-privileged, relevant information or document responsive to this
  28   Interrogatory.
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   1   INTERROGATORY NO. 4:
   2           If Nikon contends that any suitable, acceptable non-infringing alternative
   3   (e.g., design around) exists for any Accused Instrumentality in each Accused
   4   Product: (a) identify each suitable, acceptable non-infringing alternative for each
   5   Accused Product and each Asserted Claim; (b) state the full factual basis for
   6   Nikon’s contention why each such alternative is suitable, acceptable, and/or non­
                                                                                    non-
   7   infringing, including any supporting Documents and Persons most knowledgeable
   8   about the subject matter of Your response; (c) state all facts in support of
                                                                                 of Nikon’s
   9   contention that Nikon had the necessary equipment, materials, know-how, and
  10   experience to design and procure or manufacture the alternative and incorporate and
  11   sell a product with the alternative; and (d) state Nikon’s contention regarding the
  12   cost to Nikon of procuring or manufacturing, incorporating, and selling each such
  13   alternative.
  14   RESPONSE TO INTERROGATORY NO. 4:
  15           Defendants incorporate their General Objections by reference. Defendants
  16   object that this Interrogatory is comprised of multiple discrete subparts and should
  17   be counted as multiple separate Interrogatories for purposes of Federal Rule of
  18   Civil Procedure 33(a)(1). Defendants object to this interrogatory to the extent that
  19   it calls for information that falls within the protection of
                                                                 of the attorney-client
  20   privilege, the attorney work product doctrine, joint defense or common interest
  21   privilege, community of interest privilege, and/or any other applicable privilege or
  22   immunity. Defendants further object to this interrogatory as overly broad, unduly
  23   burdensome, not reasonably calculated to lead to the discovery of admissible
  24   evidence, and not proportional to the needs of
                                                   of the case to the extent it seeks
  25   information for Asserted Claims for which Plaintiffs have not yet provided
  26   infringement contentions.
  27           Defendants further object to this interrogatory as seeking information that is
  28   not relevant to this case, not reasonably calculated to lead to the discovery of
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   1   admissible evidence, and not proportional to the needs of the case given that an
   2   assessment of “non-infringing alternatives” is typically relevant to the issues of lost
   3   profits and/or price erosion, and Defendants understand that Plaintiffs do not claim
   4   entitlement to lost profits or price erosion in this case. (See D.I. 50 at 1.)
   5          Defendants recognize, though, that the issue of “non-infringing alternatives”
   6   may be deemed relevant to a reasonable royalty determination (although
   7   Defendants deny that Plaintiffs are entitled to a reasonable royalty or any damages
   8   because Defendants do not infringe any valid claim of the patents in suit).
   9          Defendants object to this interrogatory to the extent it attempts to shift the
  10   burden of proof on any damages issues from Plaintiffs to Defendants. Defendants
  11   object to this interrogatory as premature because Plaintiffs have not yet provided
  12   damages contentions to Defendants. Defendants further object to this interrogatory
  13   under Fed. R. Civ. P. 26(a)(2) and 26(b)(4) to the extent that it prematurely seeks
  14   disclosure of information that is within the scope of expert testimony or opinion on
  15   the issue of non-infringing alternatives.
  16          Subject to the above objections, Defendants respond as follows:
  17          At least the accused products are non-infringing alternatives to the subject
  18   matter claimed by the patents in suit. In addition, to the extent that Plaintiffs can
  19   establish that a particular prior art design does not practice a particular claim, a
  20   product that followed that same prior art design would not infringe that claim.
  21          After Plaintiffs provide damages contentions, Defendants reserve the right to
  22   supplement this response and/or to provide an expert report on non-infringing
  23   alternatives issue in accordance with the schedule set forth in the Court’s
  24   scheduling order, D.I. 55.
  25
  26   INTERROGATORY NO. 5:
  27          Identify all Evaluations of which You are aware relating to the ownership,
  28   alleged noninfringement, alleged validity, and/or alleged enforceability of the
       Case No. 2:17-cv-03221 RGK (MRWx)
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   Asserted Patents, including the date of the Evaluation(s), the individual(s) who
   2   formulated or drafted any portion of the Evaluations(s), the individual(s) to whom
   3   the opinion(s) were provided, the individual(s) who purportedly relied on the
   4   Evaluation(s), and the substance and basis of the Evaluation(s).
   5   RESPONSE TO INTERROGATORY NO. 5:
   6          Defendants incorporate their General Objections by reference. Defendants
   7   object to this Interrogatory to the extent that it seeks information protected by the
   8   attorney-client privilege, the attorney work product doctrine, joint defense or
   9   common interest privilege, community of interest privilege, and/or any other
  10   applicable privilege or immunity, or restriction upon discovery. Further
  11   responding, Defendants state that if they choose to rely upon an opinion of counsel,
  12   they will provide any such opinions and related evidence at later time.
  13   INTERROGATORY NO. 6:
  14          For each Accused Product, describe where, by which Persons or Entities, and
  15   over what period it was manufactured, used, sold, offered for sale, and/or imported
  16   into the United States, and provide financial information relating to each Accused
  17   Product, including on a monthly basis (for both the United States and worldwide),
  18   sales volume (i.e., quantity of units sold), revenue, costs of goods sold, other fixed
  19   or variable costs, and gross and net profits, and identify all supporting Documents
  20   and Persons most knowledgeable about the subject matter of Your response.
  21   RESPONSE TO INTERROGATORY NO. 6:
  22          Defendants incorporate their General Objections by reference. Defendants
  23   object that this Interrogatory is comprised of multiple discrete subparts and should
  24   be counted as multiple separate Interrogatories for purposes of Federal Rule of
  25   Civil Procedure33(a)(1). Defendants further object to this Interrogatory as vague
  26   and ambiguous with respect to the term “Accused Products.” Defendants further
  27   object to this Interrogatory as overly broad, unduly burdensome, not reasonably
  28   calculated to lead to the discovery of admissible evidence, and not proportional to
       Case No. 2:17-cv-03221 RGK (MRWx)
                                                       13
       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   the needs of the case to the extent this Interrogatory seeks the identification of any
   2   documents related to “financial information relating to each Accused Product.”
   3   Defendants further object that Plaintiffs’ request for information a “monthly basis”
   4   and “worldwide” is unduly burdensome and not proportional to the needs of the
   5   case. Defendants further object to this request to the extent it seeks information
   6   protected by the attorney-client privilege, the attorney work product doctrine, joint
   7   defense or common interest privilege, community of interest privilege, and/or any
   8   other applicable privilege or immunity.
   9          Defendants’ response to Interrogatory No. 6 is based on information
  10   currently known to Defendants through their reasonable investigation to date, and is
  11   subject to amendment and/or supplementation. By providing this response,
  12   Defendants do not, and do not intend to, waive their right to rely on evidence or
  13   information that is subsequently discovered through their continuing investigation
  14   and/or included in an amended or supplemental response.
  15          Subject to, as limited by, and without waiving the foregoing objections and
  16   the General Objections, Defendants respond as follows: Defendants intend to
  17   produce records from which responsive information may be derived or ascertained
  18   pursuant to Federal Rule of Civil Procedure 33(d).
  19          Subject to, as limited by, and without waiving the foregoing objections and
  20   the General Objections, Defendants respond as follows: Defendants identify the
  21   following Nikon employees and departments as having knowledge about the
  22   Accused Products:
  23               Manufacturing and assembly: Production Sector, Imaging Business
  24                  Unit, Nikon Corporation
  25               Testing: Quality Assurance Department, Imaging Business Unit,
  26                  Nikon Corporation
  27               Marketing in the United States: Mark Soares, Sr. Marketing Manager,
  28                  Nikon Inc.
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   1               Sales, offers for sale, and distribution in the United States: Bryan J.
   2                  Vannatter, Senior Vice President, Sales, Marketing, and
   3                  Communications at Nikon Inc.
   4               Importation into the United States: Marina Comace-Olson, Senior
   5                  Import/Export Manager at Nikon Inc.
   6               Inventory in the United States: Ryo Tomotaka, Assistant Manager,
   7                  Planning at Nikon Inc.
   8          Defendants intend to produce records from which responsive information
   9   may be derived or ascertained pursuant to Federal Rule of Civil Procedure 33(d).
  10          Regarding financial information of the Accused Products sold in the United
  11   States, Defendants respond as follows: Defendants intend to produce records from
  12   which responsive information may be derived or ascertained pursuant to Federal
  13   Rule of Civil Procedure 33(d).
  14          To the extent the information sought by this Interrogatory is outside of
  15   Defendants’ possession, custody, or control, such information may or may not be
  16   available from the manufacturers of certain Nikon digital cameras. Defendants will
  17   supplement this response with the names of such manufacturers once an appropriate
  18   protective order is in place.
  19   INTERROGATORY NO. 7:
  20          State whether You contend that You have any legal or equitable right,
  21   including any implied or explicit license, to practice any of the Asserted Claims of
  22   the Asserted Patents with respect to any Accused Products, and if so, provide the
  23   complete basis for such contention, including related Documents and Persons most
  24   knowledgeable about the subject matter of Your response.
  25   RESPONSE TO INTERROGATORY NO. 7:
  26          Defendants incorporate their General Objections by reference. Defendants
  27   further object to this Interrogatory as vague and ambiguous with respect to the
  28   terms “Accused Products.” Defendants further object to this Interrogatory to the
       Case No. 2:17-cv-03221 RGK (MRWx)
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   extent it seeks information protected by the attorney-client privilege, the attorney
   2   work product doctrine, joint defense or common interest privilege, community of
   3   interest privilege, and/or any other applicable privilege or immunity. Defendants
   4   further object to this Interrogatory as discovery has just commenced and it is a
   5   premature request for disclosures of contentions.
   6          Defendants’ response to Interrogatory No. 7 is based on information
   7   currently known to Defendants through their reasonable investigation to date, and
   8   is subject to amendment and/or supplementation. By providing this response,
   9   Defendants do not, and do not intend to, waive their right to rely on evidence or
  10   information that is subsequently discovered through their continuing investigation
  11   and/or included in an amended or supplemental response.
  12          Subject to, as limited by, and without waiving the foregoing objections and
  13   the General Objections, Defendants respond as follows: Defendants are not aware
  14   of any non-privileged, relevant information or document responsive to this
  15   Interrogatory at this time. Defendants’ investigation is ongoing, and Defendants
  16   will seasonably supplement this response if additional information is discovered as
  17   a result of that investigation.
  18   INTERROGATORY NO. 8:
  19          For each Accused Product, including all generations, past and present,
  20   identify the following Components by name, product number, internal code, and
  21   manufacturer: the image sensor(s) in the Accused Product, any processors or
  22   processing circuitry therein (including without limitation any image, video, or
  23   media processor (e.g. any EXPEED processor)), all memory devices therein, all
  24   storage devices therein, all firmware and/or software that runs on the Accused
  25   Product, and display Components (e.g., LCD monitor) therein, and identify the date
  26   range the Component was used in each Accused Product, the manufacturer or each
  27   Component, and all supporting Documents and three Persons most knowledgeable
  28   about the subject matter of Your response.
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   RESPONSE TO INTERROGATORY NO. 8:
   2          Defendants incorporate their General Objections by reference. Defendants
   3   further object to this Interrogatory as vague and ambiguous with respect to the
   4   terms “Accused Products,” “Components,” “processors,” “processing circuitry,”
   5   and “storage devices.” Defendants further object to Zeiss/ASML’s definitions of
   6   “Accused Products” and “Components” as overly broad. Defendants further object
   7   to this Interrogatory to the extent it seeks information outside of Defendants’
   8   possession, custody, or control. Defendants further object to this Interrogatory to
   9   the extent it seeks third party confidential information. Defendants further object to
  10   this Interrogatory as overly broad, unduly burdensome, not reasonably calculated to
  11   lead to the discovery of admissible evidence, and not proportional to the needs of
  12   the case to the extent this Interrogatory seeks the identification of all documents
  13   related to the subject matter of Defendants’ response.
  14          Defendants’ response to this interrogatory is based on information currently
  15   known to Defendants through their reasonable investigation to date, and is subject
  16   to amendment and/or supplementation. By providing this response, Defendants do
  17   not, and do not intend to, waive their right to rely on evidence or information that is
  18   subsequently discovered through their continuing investigation and/or included in
  19   an amended or supplemental response.
  20          Subject to, as limited by, and without waiving the foregoing objections and
  21   the General Objections, Defendants respond as follows: Defendants will identify
  22   components incorporated into the accused products once an appropriate protective
  23   order is in place.
  24          Defendants will produce records from which responsive information may be
  25   derived or ascertained pursuant to Federal Rule of Civil Procedure 33(d).
  26          Defendants identify the following department as having knowledge about the
  27   identification of Components incorporated into Nikon digital cameras:
  28          •       Production Sector, Imaging Business Unit, Nikon Corporation
       Case No. 2:17-cv-03221 RGK (MRWx)
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   INTERROGATORY NO. 9:
   2          For each Accused Product and for any Shared Sensor Camera or Shared
   3   Sensor Device, describe the layout and function of the image sensor, including but
   4   not limited to a description of the circuitry, scanning method, identifying pixels and
   5   any and all transistors; the types of pixels in the sensor; the role of each type of
   6   pixel; the pixel layout of each type of pixel including the quantity of and
   7   interconnection between photodiodes, transistors, and other pixel Components; the
   8   connections between pixels including any arrangement to share capacitance
   9   between pixels; the types of transistors in the sensor; the role of each transistor
  10   type, and the specific transistor layout in the sensor, and including describing in
  11   detail how the image sensor obtains information from pixels in the image sensor,
  12   including but not limited to (i) the sequence of events when an image is captured;
  13   (ii) the timing of each pixel read out and function of each transistor when an image
  14   is captured; (iii) the sequence of turning on and/or off each transistor in each pixel
  15   when obtaining information from a pixel or otherwise controlling a pixel; (iv)
  16   identification of clock signals involved when an image is captured; and (v)
  17   waveforms for each pixel. Identify all supporting Documents, Persons most
  18   knowledgeable about the subject matter of Your response, and any Persons
  19   affiliated with any Third Party that is most knowledgeable about the subject matter
  20   of Your response.
  21   RESPONSE TO INTERROGATORY NO. 9:
  22          Defendants incorporate their General Objections by reference. Defendants
  23   further object to this Interrogatory as vague and ambiguous with respect to the
  24   terms “Accused Product,” “Shared Sensor Device,” and “Shared Sensor Camera.”
  25   Defendants further object to this Interrogatory to the extent it seeks information
  26   outside of Defendants’ possession, custody, or control. Defendants further object to
  27   this Interrogatory to the extent it seeks third party confidential information.
  28   Defendants further object to this Interrogatory as overly broad, unduly burdensome,
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   not reasonably calculated to lead to the discovery of admissible evidence, and not
   2   proportional to the needs of the case to the extent this Interrogatory seeks the
   3   identification of all documents related to the subject matter of Defendants’
   4   response.
   5          Defendants’ response to this interrogatory is based on information currently
   6   known to Defendants through their reasonable investigation to date, and is subject
   7   to amendment and/or supplementation. By providing this response, Defendants do
   8   not, and do not intend to, waive their right to rely on evidence or information that is
   9   subsequently discovered through their continuing investigation and/or included in
  10   an amended or supplemental response.
  11          Subject to, as limited by, and without waiving the foregoing objections and
  12   the General Objections, Defendants responds as follows: Defendants will produce
  13   records from which responsive information may be derived or ascertained pursuant
  14   to Federal Rule of Civil Procedure 33(d). To the extent the information sought by
  15   this Interrogatory is outside of Defendants’ possession, custody, or control, such
  16   information might be available from the manufacturers of image sensors, and/or
  17   parts thereof, incorporated into certain Nikon digital cameras. Defendants will
  18   supplement this response with the names of such manufacturers once an appropriate
  19   protective order is in place.
  20          Defendants identify the following employees as having knowledge about the
  21   image sensors incorporated into certain Nikon digital cameras:
  22                Hideaki Matsuda, CIS Development Center, Research & Development
  23                  Division, Nikon Corporation
  24   INTERROGATORY NO. 10:
  25          Describe in detail the full factual and legal bases for Your affirmative
  26   defenses as set forth in Your answer to Plaintiffs’ Complaint in this action
  27   (including any answer to any amended complaint).
  28
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   RESPONSE TO INTERROGATORY NO. 10:
   2          Defendants incorporate their General Objections by reference. Defendants
   3   further object to this Interrogatory to the extent it seeks information protected by
   4   the attorney-client privilege, the attorney work product doctrine, joint defense or
   5   common interest privilege, community of interest privilege, and/or any other
   6   applicable privilege or immunity. Defendants further object to this Interrogatory as
   7   premature to the extent it calls for information that is the subject of expert reports
   8   and testimony. Defendants further object to this Interrogatory as a premature
   9   request for disclosures of contentions and object to the extent it is duplicative of
  10   any other Interrogatory. Defendants further object to this Interrogatory as a
  11   premature Interrogatory requesting identification of persons who may offer
  12   testimony at any hearing in this lawsuit.
  13          Defendants’ response to Interrogatory No. 10 is based on information
  14   currently known to Defendants through their reasonable investigation to date, and is
  15   subject to amendment and/or supplementation. By providing this response,
  16   Defendants do not, and does not intend to, waive their right to rely on evidence or
  17   information that is subsequently discovered through their continuing investigation
  18   and/or included in an amended or supplemental response.
  19          Subject to, as limited by, and without waiving the foregoing objections and
  20   the General Objections, Defendants respond as follows: discovery has just
  21   commenced and thus, Defendants will provide responsive, relevant, non-privileged
  22   information on a mutually agreeable date or on a date set by the Court.
  23   INTERROGATORY NO. 11:
  24          Identify each Accused Product, including all models or versions that are or
  25   have been made, used, provided, offered for sale, sold in, or imported into the
  26   United States, including the date that each model or version was first made, used,
  27   provided, offered for sale, sold in, or imported into the United States, and including
  28   the time period (beginning and end date, or if still being imported and indicated of
       Case No. 2:17-cv-03221 RGK (MRWx)
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1   such) that each model or version was made, used, provided, offered for sale, sold in,
   2   or imported into the United States.
   3   RESPONSE TO INTERROGATORY NO. 11:
   4          Defendants incorporate their General Objections by reference. Defendants
   5   object that this Interrogatory is comprised of multiple discrete subparts and should
   6   be counted as multiple separate Interrogatories for purposes of Federal Rule of
   7   Civil Procedure 33(a)(1). Defendants further object to this Interrogatory as vague
   8   and ambiguous with respect to the term “Accused Products.” Defendants further
   9   object to this Interrogatory as overly broad, unduly burdensome, not reasonably
  10   calculated to lead to the discovery of admissible evidence, and not proportional to
  11   the needs of the case to the extent this Interrogatory seeks the identification of any
  12   documents related to “all models or versions that are or have been made, used,
  13   provided, offered for sale, sold in, or imported into the United States.”
  14          Defendants’ response to Interrogatory No. 11 is based on information
  15   currently known to Defendants through their reasonable investigation to date, and is
  16   subject to amendment and/or supplementation. By providing this response,
  17   Defendants do not, and do not intend to, waive their right to rely on evidence or
  18   information that is subsequently discovered through their continuing investigation
  19   and/or included in an amended or supplemental response.
  20          Defendants will produce records from which responsive information may be
  21   derived or ascertained pursuant to Federal Rule of Civil Procedure 33(d).
  22          Defendants identify the following employee as having knowledge about the
  23   models or versions of the Accused Products that are or have been made, used,
  24   provided, offered for sale, sold in, or imported into the United States
  25                 Product identification of the Accused Products: Naoki Kitaoka,
  26                  Department Manager, UX Planning Department, Marketing Sector,
  27                  Imaging Business Unit, Nikon Corporation
  28
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   1               Sales, offers for sale, and distribution in the United States: Bryan J.
   2                  Vannatter, Senior Vice President, Sales, Marketing, and
   3                  Communications at Nikon Inc.
   4               Importation into the United States: Marina Comace-Olson, Senior
   5                  Import/Export Manager at Nikon Inc.
   6          Regarding the time period that each model or version was made, used,
   7   provided, offered for sale, sold in, or imported into the United States, Defendants
   8   respond as follows: Defendants will produce records from which responsive
   9   information may be derived or ascertained pursuant to Federal Rule of Civil
  10   Procedure 33(d).
  11
  12
                                                       Respectfully submitted,
  13
       Dated: October 25, 2017                         MORRISON & FOERSTER LLP
  14
  15
                                                       By: /s/ Vincent J. Belusko
  16                                                       Vincent J. Belusko
  17                                                       Attorneys for Defendants
                                                           NIKON CORPORATION,
  18                                                       SENDAI NIKON CORPORATION, and
                                                           NIKON INC.
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       DEFENDANTS’ RESP TO PLAINTIFFS’ ROGS, SET ONE
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   11                                   CERTIFICATE OF SERVICE
   2           I1 declare that I1 am employed with the law firm of Morrison & Foerster LLP
                                                                                       LLP,,
        whose address is 425 Market Street, San Francisco, California 94105-2482. I1 am
   3    not a party to the within cause, and I1 am over the age of eighteen years.
   4            I1 further declare that on the date hereof, I1 served a copy of:
   5                    DEFENDANTS NIKON CORPORATION, SENDAI
                        NIKON CORPORATION, AND NIKON INC.’S
   6                    RESPONSES TO PLAINTIFFS CARL ZEISS AG
                        AND ASML NETHERLANDS B.V.’S FIRST SET OF
   7                    INTERROGATORIES
   8
   9      n BY ELECTRONIC SERVICE [Fed.
                                [Fed. Rule Civ. Proc. rule 5(b)]
                                                             5(b)| by
                  electronically mailing a true and correct copy through Morrison &
  10
  10              Foerster LLP's electronic mail system to the e-mail address(es) set forth
                  below, or as stated on the attached service list per agreement in
  11
  11
                  accordance with Federal Rules of Civil Procedure rule 5(b).
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  15
  15            Attorneys for Plaintiffs CARL ZEISS AG and ASML NETHERLANDS,
                B.V.
  16
  16            External-Zeiss-NikonCDCAL3221ServiceEmail@fr.com
                Extemal-Zeiss-NikonCDCAL3221 ServiceEmail@fr.com

  17
  17            I declare under penalty
                                penalty of
                                        ofperjury that the foregoing
                                                            foregoing is true and correct.
                                                                                  correct.

  18
  18            Executed at San Francisco, California, this 25 th
                                                            25^^  day of October, 2017.
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  21
  22                  Shaelyn Dawson                              /s/ Shaelyn Dawson
                          (typed)                                      (signature)
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